Case 2:05-cr-20101-.]PI\/| Document 24 Filed 07/18/05 Page 1 of 2 Page|D 30

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTR_ICT OF TENNESSEE

 

WESTERN DIVISION
UNITED STATES OF AM]:`.RICA,
Plaintijf,
v. v NO: 2:05-20101 Ml
LARRY JONES,
A/k/a Larry Thomas,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR REDUCTION OF BOND

Before this Court is defendant’s motion for a reduction of his bond from Ten
Thousand Dollars ($10,000) to Five Thousand Dollars ($5,000). The Cou;rt having found
good cause therefor, herewith Orders that:

Defendant’s bond is reduced fi‘om Ten Thousand Dollars ($10,000) to Five

Thousand Dollars ($5,000).
IT ls so om)ERED this / B/ day 0 0»\;{ , 2005.

   

JO PHIPPS McCALLA
TED STATES DISTRIC'I` JUDGE

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Honorable J on McCalla
US DISTRICT COURT

